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15
                               UNITED STATES DISTRICT COURT
16
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                        OAKLAND DIVISION
18

19   EPIC GAMES, INC.,                           Case No. 4:20-cv-05640-YGR-TSH

20                         Plaintiff, Counter-   DEFENDANT APPLE INC.’S UPDATED
                           defendant             LIST OF DISCOVERY EXCERPTS, AUDIO,
21                                               AND VIDEO LIKELY TO BE USED AT
           v.                                    TRIAL
22
     APPLE INC.,
23
                           Defendant,
24                         Counterclaimant.

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     APPLE’S UPDATED LIST OF DISCOVERY EXCERPTS, AUDIO, AND VIDEO LIKELY TO BE USED AT TRIAL
                                   CASE NO. 4:20-cv-05640-YGR-TSH
                         Case 4:20-cv-05640-YGR Document 480 Filed 04/25/21 Page 2 of 8


               1           Pursuant to the Court’s Standing Order re Pretrial Instructions in a Civil Cases and the Court’s
               2   Order Regarding Pretrial Schedule (Dkt. 377), Defendant and Counterclaimant Apple Inc. (“Apple”),
               3   by and through its undersigned counsel, hereby submits the following updated list of discovery
               4   excerpts, audio, and video (excluding deposition designations) likely to be used at trial. The parties
               5   are continuing to meet and confer regarding the admissibility of exhibits. Apple reserves its right to
               6   use the exhibits in Plaintiff and Counter-defendant Epic Games, Inc.’s (“Epic”) respective audio
               7   visual exhibit list.
               8          Apple’s List of Discovery Excerpts, Audio, and Video Likely To Be Used At Trial
                                                                                                        Epic’s
               9      No.                     Form of Excerpt                           Designation     Legal
                                                                                                       Objection
           10
                       1. Epic’s   Responses and Objections to Apple’s First Set Response to
                           of Interrogatory Responses, December 11, 2020          Interrogatory No. 2
           11              Epic’s  Responses  and Objections to Apple’s First Set Response to
                       2. of Interrogatory Responses, December 11, 2020           Interrogatory No. 5
           12              Epic’s  Responses  and Objections to Apple’s First Set Response to
                       3. of Interrogatory Responses, December 11, 2020           Interrogatory No. 6
           13              Epic’s  Responses  and Objections to Apple’s First Set Response to
                       4. of Interrogatory Responses, December 11, 2020           Interrogatory No. 7
           14              Epic’s  Responses  and Objections to Apple’s First Set Response to
                       5. of Interrogatory Responses, December 11, 2020           Interrogatory No. 8
           15              Epic’s Responses and Objections to Apple’s First Set Response to
                       6. of Interrogatory Responses, December 11, 2020           Interrogatory No. 9
           16
                           Epic’s  Responses  and Objections to Apple’s First Set Response to
                       7. of Interrogatory Responses, December 11, 2020
           17                                                                     Interrogatory No. 10
                           Epic’s Supplemental Reponses to Apple’s                Supplemental
           18          8. Interrogatory Nos. 1, 3, and 4, December 29, 2020       Response to
                                                                                  Interrogatory No. 1
           19              Epic’s Supplemental Reponses to Apple’s                Supplemental
                       9. Interrogatory Nos. 1, 3, and 4, December 29, 2020       Response to
           20                                                                     Interrogatory No. 3
                           Epic’s Supplemental Reponses to Apple’s                Supplemental
           21          10. Interrogatory Nos. 1, 3, and 4, December 29, 2020      Response to
                                                                                  Interrogatory No. 4
           22              Epic’s  Responses  and Objections to Apple’s Second    Response to
                       11.
                           Set of Interrogatory Responses, January 29, 2021       Interrogatory No. 12
           23              Epic’s  Responses  and Objections to Apple’s Second    Response to
                       12. Set of Interrogatory Responses, January 29, 2021       Interrogatory No. 13
           24              Epic’s  Responses  and Objections to Apple’s Second    Response to
                       13. Set of Interrogatory Responses, January 29, 2021       Interrogatory No. 15
           25              Epic’s  Responses  and Objections to Apple’s Second    Response to
                       14. Set of Interrogatory Responses, January 29, 2021       Interrogatory No. 16
           26              Epic’s  Responses  and Objections to Apple’s Second    Response to
                       15. Set of Interrogatory Responses, January 29, 2021       Interrogatory No. 18
                       16. Epic’s
           27                      Responses and Objections to Apple’s Second     Response to
                           Set of Interrogatory Responses, January 29, 2021       Interrogatory No. 19
           28              Epic’s  Responses  and Objections to Apple’s Third     Response to
                       17. Set of Interrogatory Responses, February 15, 2021      Interrogatory No. 21
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               1                                                                                        Epic’s
                     No.                    Form of Excerpt                         Designation         Legal
               2                                                                                       Objection
                      18. Epic’s  Responses and Objections to Apple’s Third     Response to
               3          Set of Interrogatory Responses, February 15, 2021     Interrogatory No. 22
                      19. Epic’s  Responses and Objections to Apple’s Third     Response to
               4          Set of Interrogatory Responses, February 15, 2021     Interrogatory No. 23
                      20. Epic’s  Responses and Objections to Apple’s Third     Response to
               5          Set of Interrogatory Responses, February 15, 2021     Interrogatory No. 24
                      21. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
               6          of Requests for Admission, February 15, 2021          for Admission No. 1
                      22. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
               7          of Requests for Admission, February 15, 2021          for Admission No. 2
                      23. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
               8          of Requests for Admission, February 15, 2021          for Admission No. 3
                      24. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
               9          of Requests for Admission, February 15, 2021          for Admission No. 4
           10         25. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 5
                      26. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
           11             of Requests for Admission, February 15, 2021          for Admission No. 6
                      27. Epic’s  Responses & Objections to Apple’s First Set   Response to Request
           12             of Requests for Admission, February 15, 2021          for Admission No. 7
                      28. Epic’s
           13                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 8
                      29. Epic’s
           14                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 9
                      30. Epic’s
           15                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 10
                      31. Epic’s
           16                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 11
                      32. Epic’s
           17                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 17
                      33. Epic’s
           18                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 19
                      34. Epic’s
           19                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 20
                      35. Epic’s
           20                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 21
                      36. Epic’s
           21                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 22
                      37. Epic’s Responses & Objections to Apple’s First Set
           22                                                                   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 24
                      38. Epic’s
           23                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 27
                      39. Epic’s
           24                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 28
                      40. Epic’s
           25                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 32
                      41. Epic’s
           26                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 36
                      42. Epic’s
           27                     Responses & Objections to Apple’s First Set   Response to Request
                          of Requests for Admission, February 15, 2021          for Admission No. 37
           28

                                                               3
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               1                                                                                            Epic’s
                     No.                    Form of Excerpt                          Designation            Legal
               2                                                                                           Objection
                                                                                Apple intends to show
               3                                                                portions of the video
                                                                                corresponding to the
               4                                                                following portions of
                      43.                                                       the transcript: 2:1-3;
               5                                                                5:12-6:3; 11:21-12:24;
                            DX-3147, Apple Special Event, September 10, 2013,   24:25-31:4, 44:6-
               6            video and transcript                                46:25                      802
                                                                                Apple intends to show
               7                                                                portions of the video
                                                                                corresponding to the
               8      44.                                                       following portions of
                            DX-3168, Apple Special Event, dated September       the transcript: 2:1-4;
               9            2015, video and transcript                          12:6-12; 23:3-26-16        802; 602
                                                                                Apple intends to show
           10                                                                   portions of the video
                          DX-3269, Apple WWDC 2010, YouTube, December           corresponding to the
           11         45. 31, 2011,                                             following portions of
                          https://www.youtube.com/watch?v=ldFx1ftxs0A,          the transcript: 8:7-       106; 802;
           12             video and forthcoming transcript                      11:2, 20:8-21:4            602
                                                                                Apple intends to show
           13                                                                   portions of the video
                                                                                corresponding to the
           14         46.                                                       following portions of
                                                                                the transcript: 3:14-15;
           15               DX-3396, Apple Event, WWDC 2017, video and          44:24-45:24; 63:7-
                            transcript                                          70:24                      802
           16                                                                   Apple intends to show
                                                                                portions of the video
           17                                                                   corresponding to the
                      47.                                                       following portions of
           18                                                                   the transcript: 3:17-
                            DX-3418, Apple Special Event, September 2009,       4:7; 21:5-13; 25:19-
           19               video and transcript                                26:1; 26:10-28:20          802
                                                                                Apple intends to show
           20                                                                   portions of the video
                                                                                corresponding to the
           21                                                                   following portions of
                      48.                                                       the transcript: 36:11-
           22                                                                   37:13; 66:18-72:2;
                            DX-3462, Apple WWDC 2014 Keynote Address            76:21-79:19; 87:19-
           23               (HD), video and transcript                          88:19                      802
                                                                                Apple intends to show
           24                                                                   portions of the video
                                                                                corresponding to the
           25         49.                                                       following portions of
                                                                                the transcript: 5:6-24;
           26               DX-3485, Tim Sweeney DICE 2020 Talk, video and      7:15-8:16; 8:25-9:7;
                            transcript                                          11:1-11; 13:9-14:6
           27                                                                   Apple intends to show
                      50. DX-3593, iPhone OS 3.0 Software Sneak Peak 2009,      portions of the video
           28             video and transcript                                  corresponding to the       802
                                                               4
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                   APPLE’S UPDATED LIST OF DISCOVERY EXCERPTS, AUDIO, AND VIDEO LIKELY TO BE USED AT TRIAL
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               1                                                                                         Epic’s
                     No.                   Form of Excerpt                          Designation          Legal
               2                                                                                        Objection
                                                                             following portions of
               3                                                             the transcript: 2:7-16;
                                                                             3:4-10; 3:19-7:21;
               4                                                             8:15-12:14
                                                                             Apple intends to show
               5                                                             portions of the video
                                                                             corresponding to the
               6      51.                                                    following portions of
                          DX-3630, The State of Unreal Engine, GDC 2015      the transcript: 2:10-12;
               7          Event Coverage, video and transcript               5:11-6:15
                                                                             Apple intends to show
               8                                                             portions of the video
                                                                             corresponding to the
               9      52.                                                    following portions of
                                                                             the transcript: 4:7-6:4;
           10             DX-3749, Apple WWDC 2012 Keynote Address,          52:21-53:9; 55:1-4;
                          video and transcript                               61:14-63:6                 802
           11                                                                Apple intends to show
                                                                             portions of the video
           12                                                                corresponding to the
                      53.                                                    following portions of
           13                                                                the transcript: 3:15-
                          DX-3768, The Future of Gaming - Tim Sweeney        4:16; 16:7-20; 19:12-
           14             (Epic) DICE 2012 Session, video and transcript     20:9; 26:1-23
                                                                             Apple intends to show
           15                                                                portions of the video
                          DX-4028, Steve Jobs iPhone 2007 Presentation (HD), corresponding to the
           16         54. available at                                       following portions of
                          https://www.youtube.com/watch?v=vN4U5FqrOdQ,       the transcript: 2:1-4:7;
           17             video and transcript                               15:15-20                   802; 602
                                                                             Apple intends to show
           18                                                                portions of the video
                          DX-4176, Apple WWDC 2015 YouTube, June 15,         corresponding to the
           19         55. 2015,                                              following portions of
                          https://www.youtube.com/watch?v=_p8AsQhaVKI,       the transcript: 13:20-     106; 802;
           20             video and forthcoming transcript                   19:8, 56:1-57:3            602
                                                                             Apple intends to show
           21                                                                portions of the video
                          DX-4186, Tim Sweeney Dealbook Interview,           corresponding to the
           22         56. November 18, 2020                                  following portions of
                          https://www.youtube.com/watch?v=OWJ8TIn3cRM, the transcript: 2:3-5;
           23             video and transcript                               3:5-19; 8:7-9:6            802; 602
                                                                             Apple intends to show
           24                                                                portions of the video
                                                                             corresponding to the
           25         57. DX-4251, September 13, 2018, YouTube,              following portions of
                          https://www.youtube.com/watch?v=wFTmQ27S7OQ, the transcript: 29:4-            106; 802;
           26             video and forthcoming transcript                   30:16                      602
                                                                             Apple intends to show
           27                                                                portions of the video
                      58. DX-4287, Apple March 2008 Event, SDK launch,       corresponding to the
           28             video and transcript                               following portions of      802; 602
                                                               5
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               1                                                                                           Epic’s
                     No.                   Form of Excerpt                           Designation           Legal
               2                                                                                          Objection
                                                                                the transcript: 2:1-17;
               3                                                                3:16-22; 6:9-25;
                                                                                17:17-18:19; 19:10-
               4                                                                37:4; 50:23-51:12;
                                                                                52:20-57:13; 58:14-
               5                                                                19; 59:5-24; 63:11-17
                                                                                Apple intends to show
               6                                                                portions of the video
                                                                                corresponding to the
               7      59. DX-4293, Apple Event WWDC 2007, available at          following portions of
                          https://www.youtube.com/watch?v=ubm2dYzoDW8,          the transcript: 58:18-
               8          video and transcript                                  60:11                     802; 602
                                                                                Apple intends to show
               9                                                                portions of the video
                      60.                                                       corresponding to the
           10                                                                   following portions of
                          DX-4372, Steve Jobs Q&A session following the         the transcript: 2:23-
           11             SDK launch in 2008, video and transcript              5:9; 6:13-8:25            802; 602
                          DX-4380, Nineteen-Eighty-Fortnite video, available
           12         61. at https://www.youtube.com/watch?v=euiSHuaw6Q4, Apple intends to show
           13             video and transcript                                 the entire video
                                                                               Apple intends to show
           14                                                                  portions of the video
                          DX-4494, Apple iPhone 4S keynote video now           corresponding to the
                      62. available, Slash Gear, October 4, 2011, available at
           15                                                                  following portions of
                          https://www.slashgear.com/apple-iphone-4s-keynote- the transcript: 2:24-
           16             video-now-available-04185460, video and transcript   7:12                       802; 602
                                                                               Apple intends to show
           17                                                                  portions of the video
                                                                               corresponding to the
           18         63.                                                      following portions of
                                                                               the transcript: 2:7-8;
           19             DX-4591, Apple Event, WWDC 2018, video and           2:21-4:1; 6:9-16; 6:24-
                          transcript                                           7:19; 97:18-100:23         802
           20                                                                  Apple intends to show
                                                                               portions of the video
           21                                                                  corresponding to the
                      64. DX-5000, Video – Machine Learning and Security:      following portions of      402; 403;
           22             The Good, The Bad, and The Ugly, video and           the transcript: 6:5-       802; 602;
                          transcript                                           12:7; 26:17-36:19          6(c)
           23             DX-5008, Video – Combination of Features Produces Apple intends to show         802; 602;
                      65.
                          New Android Vulnerability, video and transcript      the entire video           6(c)
           24             DX-5017, Video - Jekyll on iOS: When Benign Apps                                402; 403;
                      66. Become Evil by Tielei Wang of Georgia Institute of   Apple intends to show      802; 602;
           25
                          Technology, video and transcript                     the entire video           6(c)
           26             DX-5020, Video - On the Feasibility of Large-Scale
                      67. Infections of iOS Devices by Tielei Wang of Georgia Apple intends to show       802; 602;
           27             Institute of Technology, video and transcript        the entire video           6(c)
                          DX-5039, Prof. Lee lecture, CS6035_P2_Defense in     Apple intends to show      402; 403;
           28         68.
                          Depth, video and transcript                          the entire video           802; 6(c)
                                                               6
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                   APPLE’S UPDATED LIST OF DISCOVERY EXCERPTS, AUDIO, AND VIDEO LIKELY TO BE USED AT TRIAL
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               1                                                                                           Epic’s
                     No.                    Form of Excerpt                          Designation           Legal
               2                                                                                         Objection
                            DX-5041, Prof. Lee lecture, CS6035_P2_Elements of    Apple intends to show   402; 403;
               3      69.
                            Intrusion Detection, video and transcript            the entire video        802; 6(c)
               4            DX-5081, Prof. Lee lecture, CS6035_P2_Intrusion      Apple intends to show   402; 403;
                      70.
                            Detection Approaches, video and transcript           the entire video        802; 6(c)
               5            DX-5087, Prof. Lee lecture, CS6035_P2_Knowledge      Apple intends to show   402; 403;
                      71.
                            Based Approaches, video and transcript               the entire video        802; 6(c)
               6            DX-5088, Prof. Lee lecture, CS6035_P2_Lesson         Apple intends to show   402; 403;
                      72.
                            Introduction, video and transcript                   the entire video        802; 6(c)
               7
                            DX-5130, Prof. Lee lecture, CS6035_P2_Android        Apple intends to show   402; 403;
                      73.
               8            Sandbox vs iOS Sandbox, video and transcript         the entire video        802; 6(c)
                            DX-5135, Prof. Lee lecture, CS6035_P2_Code           Apple intends to show   402; 403;
                      74.
               9            Signing, video and transcript                        the entire video        802; 6(c)
                            DX-5153, Prof. Lee lecture, CS6035_P2_Lesson         Apple intends to show   402; 403;
           10         75.
                            Introduction, video and transcript                   the entire video        802; 6(c)
           11               DX-5163, Prof. Lee lecture, CS6035_P2_Restricted     Apple intends to show   402; 403;
                      76.
                            App Distribution Model, video and transcript         the entire video        802; 6(c)
           12               DX-5199, Prof. Lee lecture, CS6035_P3_Georgia
                      77.   Tech Computer and Network Use Policy, video and      Apple intends to show   402; 403;
           13               transcript                                           the entire video        802; 6(c)
                            DX-5201, Prof. Lee lecture, CS6035_P3_Lesson         Apple intends to show   402; 403;
           14         78.
                            Introduction, video and transcript                   the entire video        802; 6(c)
           15               DX-5218, Prof. Lee lecture, CS6035_P3_Security       Apple intends to show   402; 403;
                      79.
                            Planning Controls, video and transcript              the entire video        802; 6(c)
           16               DX-5219, Prof. Lee lecture, CS6035_P3_Security       Apple intends to show   402; 403;
                      80.
                            Planning Security Policy, video and transcript       the entire video        802; 6(c)
           17               DX-5233, Prof. Lee lecture,
                      81.                                                        Apple intends to show   402; 403;
           18               CS6262_L2_Introduction, video and transcript         the entire video        802; 6(c)
                            DX-5234, Prof. Lee lecture,                          Apple intends to show   402; 403;
                      82.
           19               CS6262_L2_Pharmaleaks, video and transcript          the entire video        802; 6(c)
                            DX-5238, Prof. Lee lecture, CS6262_L2_Scamming       Apple intends to show   402; 403;
           20         83.
                            Aint Easy, video and transcript                      the entire video        802; 6(c)
                            DX-5244, Prof. Lee lecture, CS6262_L2_SPAM,          Apple intends to show   402; 403;
           21         84.
                            video and transcript                                 the entire video        802; 6(c)
           22               DX-5245, Prof. Lee lecture, CS6262_L2_Structure of   Apple intends to show   402; 403;
                      85.
                            the Underground, video and transcript                the entire video        802; 6(c)
           23               DX-5246, Prof. Lee lecture, CS6262_L2_Traffic PPI    Apple intends to show   402; 403;
                      86.
                            Example, video and transcript                        the entire video        802; 6(c)
           24
                            DX-5248, Prof. Lee lecture,
           25         87.   CS6262_InternetScanning_Introduction, video and      Apple intends to show   402; 403;
                            transcript                                           the entire video        802; 6(c)
           26               DX-5252, Prof. Lee lecture, CS6262_L8a_CA Risks,     Apple intends to show   402; 403;
                      88.
                            video and transcript                                 the entire video        802; 6(c)
           27               DX-5254, Prof. Lee lecture,
                      89.   CS6262_L8a_Certification Authentication, video and   Apple intends to show   402; 403;
           28
                            transcript                                           the entire video        802; 6(c)
                                                               7
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               1                                                                                          Epic’s
                     No.                     Form of Excerpt                         Designation          Legal
               2                                                                                        Objection
                             DX-5276, Prof. Lee lecture, CS6262_L6b_Android     Apple intends to show   402; 403;
               3       90.
                             Malware, video and transcript                      the entire video        802; 6(c)
               4             DX-5283, Prof. Lee lecture, CS6262_L6b_Forensics   Apple intends to show   402; 403;
                       91.
                             Quiz ANS, video and transcript                     the entire video        802; 6(c)
               5             DX-5287, Prof. Lee lecture,
                       92.   CS6262_L6b_Information Leakage Protection, video   Apple intends to show   402; 403;
               6             and transcript                                     the entire video        802; 6(c)
                             DX-5293, Prof. Lee lecture, CS6262_L6b_Mobile      Apple intends to show   402; 403;
               7       93.
                             Malware Detection, video and transcript            the entire video        802; 6(c)
               8             DX-5294, Prof. Lee lecture, CS6262_L6b_STAMP       Apple intends to show   402; 403;
                       94.
                             Admission System, video and transcript             the entire video        802; 6(c)
               9             DX-5295, Prof. Lee lecture, CS6262_L6b_Toolchain   Apple intends to show   402; 403;
                       95.
                             Attacks Quiz ANS, video and transcript             the entire video        802; 6(c)
           10                DX-5298, Prof. Lee lecture, CS6262_MobileMalware
                       96.                                                      Apple intends to show   402; 403;
           11                Introduction, video and transcript                 the entire video        802; 6(c)

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                   DATED: April 25, 2021                    GIBSON, DUNN & CRUTCHER LLP
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           15                                               By:   /s/ Richard J. Doren
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                                                                  Richard J. Doren
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                                                                  Attorney for Defendant and Counterclaimant
           18                                                     Apple Inc.
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Gibson, Dunn &
                   APPLE’S UPDATED LIST OF DISCOVERY EXCERPTS, AUDIO, AND VIDEO LIKELY TO BE USED AT TRIAL
Crutcher LLP
                                                  CASE NO. 4:20-cv-05640-YGR
